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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF KENTUCKY
                                 SOUTHERN DIVISION
                                       LONDON

 UNIETD STATES OF AMERICA,                     )
                                               )
       Plaintiff,                              )
                                               )         No. 6:22-CR-49-REW-HAI-2
 v.                                            )
                                               )                    ORDER
 Andrew V. Watkins,                            )
                                               )
       Defendant.                              )

                                        *** *** *** ***
       After conducting Rule 11 proceedings, see DE 92 (Minute Entry), Judge Ingram

recommended that the undersigned accept Defendant Andrew V. Watkins’s guilty plea and

adjudge him guilty of a lesser-included offense of Count One of the indictment. See DE 93 at 2

(Recommendation); see also DE 1 (Indictment); DE 91 (Plea Agreement). Judge Ingram expressly

informed Watkins of his right to object to the recommendation and to secure de novo review from

the undersigned. See DE 93 at 2-3. The established three-day objection deadline has passed, and

no party has objected.

       The Court is not required to “review . . . a magistrate[ judge]’s factual or legal conclusions,

under a de novo or any other standard, when neither party objects to those findings.” Thomas v.

Arn, 106 S. Ct. 466, 472 (1985); see also Berkshire v. Dahl, 928 F.3d 520, 530 (6th Cir. 2019)

(quoting Kensu v. Haigh, 87 F.3d 172, 176 (6th Cir. 1996)) (alterations adopted) (noting that the

Sixth Circuit has “long held that, when a defendant does ‘not raise an argument in his objections

to the magistrate judge’s report and recommendation he has forfeited his right to raise this issue

on appeal.’”); United States v. Olano, 113 S. Ct. 1770, 1777 (1993) (distinguishing waiver and

forfeiture); FED. R. CRIM. P. 59(b)(2)-(3) (limiting de novo review duty to “any objection” filed);

                                                   1
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28 U.S.C. § 636(b)(1) (limiting de novo review duty to “those portions” of the recommendation

“to which objection is made”).

        The Court thus, with no objection from any party and on full review of the record,

ORDERS as follows:

        1. The Court ADOPTS DE 93, ACCEPTS Defendant’s guilty plea, and ADJUDGES

            Defendant guilty of a lesser-included offense of Count One of the indictment, to wit,

            the Count 1 crime with no aggravated quantity, as detailed in the plea hearing.

        2. The Court will issue a separate sentencing order. 1

        This the 20th day of April, 2023.




1
 Judge Ingram remanded Watkins to custody post-plea, which preserved his status following arraignment. See DE
63; DE 92. As such, Watkins will remain in custody pending sentencing, subject to intervening orders.

                                                     2
